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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 17-14053-CR-MARRA/MAYNARD

  UNITED STATES OF AMERICA,

            Plaintiff,

     vs.

  CARL LAWRENCE COBB,

            Defendant.
                                  /

                         ORDER AFFIRMING MAGISTRATE JUDGE’S
                           REPORT AND RECOMMENDATION

            THIS CAUSE came before the court upon the Report and Recommendation on
  Change of Plea issued by United States Magistrate Judge Shaniek M. Maynard on October
  5, 2017 [DE 34].
            The court has considered the Report and Recommendation, the pertinent parts of the
  record and being otherwise fully advised in the premises it is
            ORDERED and ADJUDGED that the United States Magistrate’s Report and
  Recommendation is ADOPTED AND AFFIRMED. The Defendant is hereby adjudicated
  guilty.
            DONE and ORDERED in West Palm Beach, this 14th day of December, 2017.




                                                     KENNETH A. MARRA
                                                     UNITED STATES DISTRICT JUDGE
  cc:       All counsel
